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                                                                                                 IN THE UNITED STATES DISTRICT COURT
                                                                                                      NORTHERN DISTRICT OF OHIO
                                                                                                           EASTERN DIVISION


                                                                          RAY E. HALL                                        CASE NO.:
                                                                          84 East North Ave.
                                                                          East Palestine, Ohio 44413                         JUDGE:

                                                                          and
                                                                                                                             PLAINTIFFS CLASS ACTION
                                                                          JUDITH E. HALL                                     COMPLAINT:
                                                                          84 East North Ave.                                 NEGLIGENCE, NUISANCE, TRESPASS,
                                                                          East Palestine, Ohio 44413                         NEGLIGENT INFLICTION OF
                                                                                                                             EMOTIONAL DISTRESS; STRICT
                                                                          On Behalf of Themselves and                        LIABILITY
           Attorneys and Counselors at Law ♦ Canton and Akron, Ohio




                                                                          All Others Similarly Situated
                                                                                                                             Jury Demand Endorsed Hereon
                                                                                  Plaintiffs,

                                                                          vs.
PlakasMannos




                                                                          NORFOLK SOUTHERN RAILWAY CO.
                                                                          c/o Statutory Agent
                                                                          Corporation Service Company
                                                                          3366 Riverside Drive, Suite 103
                                                                          Upper Arlington, Ohio 43221

                                                                          and

                                                                          NORFOLK SOUTHERN CORP.
                                                                          650 W. Peachtree Street NW
                                                                          Atlanta, Georgia 30308

                                                                                  Defendants.



                                                                             Now come Representative Plaintiffs, Ray E. Hall and Judith E. Hall (collectively “Representative

                                                                      Plaintiffs”), on behalf of themselves and all others similarly situated, and, for their Complaint against

                                                                      Defendants, Norfolk Southern Railway Co. and Norfolk Southern Corp. (collectively referred to as

                                                                      “Norfolk Southern” or “Defendants”), hereby state as follows:

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                                                                                              INTRODUCTION AND FACTUAL BACKGROUND

                                                                              1.      Norfolk Southern is a national transportation company that operates one of the most

                                                                      extensive intermodal railroad networks in the Eastern United States and serves every major container port

                                                                      in the Eastern United States.

                                                                              2.      On or about February 3, 2022, at approximately 9:00 p.m., a train operated by Norfolk

                                                                      Southern and traveling from Illinois to Pennsylvania derailed in or about East Palestine, Ohio (“Train

                                                                      Derailment”).

                                                                              3.      Upon information and belief, approximately one hundred (100) train cars were derailed,
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                                                                      including approximately ten (10) to twenty (20) cars that were carrying hazardous materials, including,

                                                                      but not limited to, vinyl chloride, a toxic chemical which, upon exposure, can cause dizziness, difficulties

                                                                      with balance and walking, fatigue, numbness and tingling of the extremities, eye irritation, irritation of
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                                                                      mucous membranes, respiratory tract irritation, and, in some cases, death.

                                                                              4.      Upon derailment and/or prior to such derailment, the hazardous materials, including the

                                                                      vinyl chloride, ignited and emitted toxic fumes into the surrounding area for several days.

                                                                              5.      Upon information and belief, the Train Derailment and accompanying chemical spill were

                                                                      caused by the negligence of Defendants in operating the subject train, defects and/or deficiencies in the

                                                                      Norfolk Southern railway system, and/or defects and/or deficiencies in one or more of the subject train

                                                                      cars.

                                                                              6.      As a result, on or about February 3, 2022, at approximately 11:00 p.m., local authorities in

                                                                      the area recommended evacuation for residents and/or businesses within a mile radius of the Train

                                                                      Derailment, via door-to-door notification by police officers, without providing any clear parameters for

                                                                      why the evacuation was ensuing and for how long residents were required to evacuate the area.



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                                                                              7.     On or about February 5, 2022, a formal mandatory evacuation of the area located within a

                                                                      1-to-2-mile radius of the derailment site (the “Danger Zone”) was issued by Governor Mike DeWine and

                                                                      Columbiana County officials.

                                                                              8.     On or about February 6, 2022, environmental officials executed a controlled release of the

                                                                      toxic chemicals, including the vinyl chloride.

                                                                              9.     To date, residents and businesses in the Danger Zone and surrounding areas of East

                                                                      Palestine, Ohio remain under evacuation and are unable to return to their homes.

                                                                              10.    Representative Plaintiffs and those similarly situated were adversely affected by the Train
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                                                                      Derailment, in that they were exposed to toxic substances and fumes, including, but not limited to, vinyl

                                                                      chloride, were forced to evacuate their residences and/or business, and/or were prevented and have been

                                                                      prevented from returning to their residences and/or businesses, all of which have resulted in damages
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                                                                      therefrom.

                                                                              11.    This matter is a class action on behalf of the Representative Plaintiffs and all others

                                                                      similarly situated who have been adversely affected by the Norfolk Southern Train Derailment occurring

                                                                      in or near East Palestine, Ohio on February 3, 2023.

                                                                                                THE PARTIES, JURISDICTION, AND VENUE

                                                                              12.    Representative Plaintiff Ray Hall is an individual who resides at 84 East North Ave., East

                                                                      Palestine, Ohio 44413, which is located within the Danger Zone resulting from the Train Derailment.

                                                                              13.    Representative Plaintiff Judith Hall is an individual who resides at 84 East North Ave.,

                                                                      East Palestine, Ohio 44413, which is located within the Danger Zone resulting from the Train Derailment.

                                                                              14.    As a result of the Train Derailment, the above Representative Plaintiffs were exposed to

                                                                      toxic fumes and forced to evacuate their residence and suffered damages therefrom.



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                                                                              15.      Defendant, Norfolk Southern Railway Co., is a railway company organized and existing

                                                                      under the laws of Virginia, with its principal place of business in Norfolk, Virginia, registered to conduct

                                                                      business in the State of Ohio.

                                                                              16.      Upon information and belief, Norfolk Southern Railway Co. is a wholly owned subsidiary

                                                                      of Defendant Norfolk Southern Corporation.

                                                                              17.      Defendant, Norfolk Southern Corporation, is a corporation organized and existing under

                                                                      the laws of Virginia, with its principal place of business in Atlanta, Georgia.

                                                                             18.       Personal Jurisdiction over Defendant is proper in accordance with Federal Rule of Civil
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                                                                      Procedure 4(k)(1)(A) since Defendants minimum contacts with the State of Ohio would subject

                                                                      Defendants to jurisdiction of a court of general jurisdiction in the state where the district court is located,

                                                                      which is Ohio.
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                                                                             19.       Venue is proper in this District in accordance with 28 U.S.C. 1391 in that the Train

                                                                      Derailment occurred in the Northern District of Ohio, the Representative Plaintiffs and most and/or all of

                                                                      the member of the Putative Class reside in the Northern District of Ohio, a substantial part of the acts or

                                                                      omission giving rise to the claims occurred in the Northern District of Ohio, and damages and injuries

                                                                      resulting to the Representative Plaintiffs and members of the Putative Class occurred in the Northern

                                                                      District of Ohio.

                                                                             20.       Subject matter jurisdiction is proper in accordance with 28 U.S.C. 1332(d)(2) in that this

                                                                      is a class action in which the matter in controversy exceeds the sum or value of $5,000,000.00, exclusive

                                                                      of interests and costs. Further, there is diversity of citizenship between the Representative Plaintiffs and

                                                                      Defendants.




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                                                                                                           CLASS ACTION ALLEGATIONS

                                                                             21.        Pursuant to Federal Rule of Civil Procedure 23, the Representative Plaintiffs bring this

                                                                      action on behalf of themselves and all others similarly situated, representing a Putative Class defined as

                                                                      follows:

                                                                                   a. All individuals who, on or about February 3, 2023, owned, rented, and/or resided within

                                                                                        the real property subject to the evacuation order in East Palestine, Ohio and/or in the

                                                                                        surrounding areas, otherwise referred to as the Danger Zone;

                                                                                   b. All businesses and/or business owners who operated and/or owned a business located in
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                                                                                        the Danger Zone on February 3, 2023; and

                                                                                   c.   All persons who suffered physical injuries as a result of the release of toxic substances, a

                                                                                        subclass for which the Representative Plaintiffs seek certification under Rule 23(c)(4).
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                                                                             22.        Pursuant to the requirements set forth in Federal Rule of Civil Procedure 23, this action

                                                                      satisfies the requirements of commonality, typicality, numerosity, and adequacy for a class certification.

                                                                             23.        The Putative Class is so numerous that the individual joinder of all its members would be

                                                                      unreasonable and impracticable. The exact number and identification of the Putative Class members is

                                                                      currently unknown to the Representative Plaintiffs. However, upon information and belief, the Putative

                                                                      Class includes more than a thousand individuals and/or businesses.

                                                                             24.        Common questions of fact and law exist as to the Representative Plaintiffs and all members

                                                                      of the Putative Class and predominate over any questions affecting only individual Putative Class

                                                                      members. These common questions include, but are not limited to, the following:

                                                                                   a. Whether Defendants breached their duty of care owed to Representative Plaintiffs and

                                                                                        members of the Putative Class;



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                                                                                   b. Whether Defendants actions constituted an unreasonable interference with the

                                                                                      Representative Plaintiffs’ and members of the Putative Class’ use and enjoyment of their

                                                                                      property;

                                                                                   c. Whether Defendants actions caused an invasion of Representative Plaintiffs’ and members

                                                                                      of the Putative Class’ property resulting in a trespass;

                                                                                   d. Whether Defendants’ actions caused severe emotional distress in the Representative

                                                                                      Plaintiffs and members of the Putative Class;

                                                                                   e. Whether Defendants actions caused injury to the Representative Plaintiffs and the members
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                                                                                      of the Putative Class;

                                                                                   f. Whether Defendants’ actions in engaging in an ultra-hazardous and/or abnormally

                                                                                      dangerous activity render them strictly liable for resulting damages; and
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                                                                                   g. Whether Defendants’ acted in conscious disregard for the rights and safety of others.

                                                                             25.      The claims of the Representative Plaintiffs are typical of the claims of the other members

                                                                      of the Putative Class in that they owned, rented, and/or occupied real property in the Danger Zone and/or

                                                                      surrounding areas of East Palestine, Ohio and were required to evacuate their homes, giving rise to

                                                                      damages therefrom.

                                                                             26.      The Representative Plaintiffs will fairly and adequately protect the interests of the Putative

                                                                      Class and maintain identical interests to those of the members of the Putative Class.

                                                                             27.      Counsel for the Representative Plaintiffs is qualified and experienced in class actions and

                                                                      personal injury and/or property damage litigation claims as detailed herein.

                                                                             28.      A class action is superior to other available methods for the fair and efficient adjudication

                                                                      of this matter. If individual members of the Putative Class were required to pursue claims through



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                                                                      individual suits, the potential for recovery would be outweighed by the high cost of discovery,

                                                                      investigation, legal fees, and issues relating to the liability of Defendants.

                                                                                                           COUNT ONE – NEGLIGENCE
                                                                                                            (AS TO ALL DEFENDANTS)

                                                                             29.      Representative Plaintiffs reallege the preceding paragraphs of this Complaint as if fully

                                                                      restated and incorporate the same herein.

                                                                             30.      At all times relevant herein, Defendants were under a duty to act with reasonable care so

                                                                      as not to cause injury or damage to residents, property owners, and businesses in the Danger Zone and/or

                                                                      otherwise in the surrounding area of the Train Derailment.
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                                                                             31.      At all times relevant herein, Defendants knew or should have known that failure to operate,

                                                                      maintain, inspect, and repair its locomotives, rail cars, and railroad tracks in a proper manner could lead
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                                                                      to a breach of this duty and result in the damage that the residents, property owners, and businesses in the

                                                                      Danger Zone and/or otherwise in the surrounding area of the Train Derailment have suffered.

                                                                             32.      In breach of their duty, Defendants, among other things:

                                                                                   a. Failed to utilize adequate safety measures and/or precautions in the transportation of

                                                                                      hazardous and/or toxic materials;

                                                                                   b. Failed to provide adequate training and/or instruction to its employees and/or agents

                                                                                      regarding the operation of a train and transportation of hazardous and/or toxic materials,

                                                                                      such as in the subject Train Derailment incident;

                                                                                   c. Failed to hire and/or retain competent employees and/or agents who are skilled in the

                                                                                      operation of a train and transportation of hazardous and/or toxic materials, such as in the

                                                                                      subject Train Derailment incident;




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                                                                                   d. Failed to adequately supervise its employees and/or agents in the operation of a train and

                                                                                      transportation of hazardous and/or toxic materials, such as in the subject Train Derailment

                                                                                      incident;

                                                                                   e. Failed to properly maintain and inspect its railway tracks;

                                                                                   f. Failed to properly maintain and inspect its trains and/or train cars and ensure that they were

                                                                                      fit for their intended purpose;

                                                                                   g. Failed to reasonably warn the general public of the hazard imposed by the Train

                                                                                      Derailment;
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                                                                                   h. Allowed to exist a hazardous situation consisting of potentially damaged and/or faulty

                                                                                      equipment;

                                                                                   i. Failed to discover and/or repair any damage and/or defects in the train, train cars, and/or
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                                                                                      railway tracks;

                                                                                   j. Acted in a careless and negligent manner without due regard for the safety of others;

                                                                                   k. Failed to timely evacuate and/or warn residents and/or businesses in the area;

                                                                                   l. Failed to timely bring the release of the hazardous and/or dangerous chemical under

                                                                                      control; and

                                                                                   m. Such other acts of negligence as will be shown at trial of this matter.

                                                                             33.      As a direct and proximate result of Defendants’ negligence, the Representative Plaintiffs

                                                                      and/or all other members of the Putative Class sustained injury and damage to property and person,

                                                                      including, but not limited to, evacuation from their homes and costs sustained therefrom, exposure to toxic

                                                                      chemicals and fumes, bodily injury, severe emotional distress, and anxiety.




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                                                                             34.     In addition, the Defendants’ actions were undertaken in violation of law and in a conscious

                                                                      disregard for the rights and safety of others that had a great probability of causing substantial harm thereby

                                                                      subjecting the Defendants to liability for punitive damages.

                                                                                                             COUNT TWO – NUISANCE
                                                                                                            (AS TO ALL DEFENDANTS)

                                                                             35.     Representative Plaintiffs reallege the preceding paragraphs of this Complaint as if fully

                                                                      restated and incorporate the same herein.

                                                                             36.     Each of the Representative Plaintiffs and/or Putative Class members owns, rents, and/or

                                                                      otherwise occupies real property located in the Danger Zone and/or in the surrounding affected areas in
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                                                                      or near East Palestine, Ohio.

                                                                             37.     The Defendants’ negligence, as more fully alleged herein, created a substantial and
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                                                                      unreasonable interference with the Representative Plaintiffs’ and all members of the Putative Class’ use

                                                                      and/or enjoyment of their property and further posed a substantial and unreasonable threat to their health

                                                                      and safety. Such a substantial and unreasonable interference constitutes a private nuisance.

                                                                             38.     As a direct and proximate result of Defendants’ creation of the nuisance, the Representative

                                                                      Plaintiff and/or all other members of the Putative Class sustained injury and damage, including, but not

                                                                      limited to, evacuation from their homes and costs sustained therefrom, exposure to toxic chemicals and

                                                                      fumes, bodily injury, severe emotional distress, and anxiety.

                                                                             39.     In addition, the Defendants’ actions were undertaken in violation of law and in a conscious

                                                                      disregard for the rights and safety of others that had a great probability of causing substantial harm thereby

                                                                      subjecting the Defendants to liability for punitive damages.




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                                                                                                           COUNT THREE – TRESPASS
                                                                                                           (AS TO ALL DEFENDANTS)

                                                                             40.     Representative Plaintiffs reallege the preceding paragraphs of this Complaint as if fully

                                                                      restated and incorporate the same herein.

                                                                             41.     Defendants’ conduct, as more fully detailed herein, caused or permitted hazardous

                                                                      chemicals, noxious fumes, odors, and toxic substances to invade the real property owned, rented, and/or

                                                                      occupied by the Representative Plaintiffs and other members of the Putative Class. Each of these invasions

                                                                      constituted a trespass.

                                                                             42.     Representative Plaintiffs and members of the Putative Class have never authorized
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                                                                      invasions of their real property by hazardous chemicals, noxious fumes, odors, and toxic substances.

                                                                             43.     As a direct and proximate result of the Defendants’ trespass, the premises and persons of
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                                                                      the Representative Plaintiffs and/or Putative Class have sustained injury and damage, including, but not

                                                                      limited to, evacuation from their homes and costs sustained therefrom, exposure to toxic chemicals and

                                                                      fumes, bodily injury, emotional distress, and anxiety.

                                                                             44.     In addition, the Defendants’ actions were undertaken in violation of law and in a conscious

                                                                      disregard for the rights and safety of others that had a great probability of causing substantial harm thereby

                                                                      subjecting the Defendants to liability for punitive damages.

                                                                                   COUNT FOUR – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                                                                                    (AS TO ALL DEFENDANTS)

                                                                             45.     Representative Plaintiffs reallege the preceding paragraphs of this Complaint as if fully

                                                                      restated and incorporate the same herein.

                                                                             46.     At all times herein, Defendants’ negligent and/or outrageous conduct constituted an

                                                                      unlawful interference with personal and property rights of the Representative Plaintiffs and members of

                                                                      the Putative Class.

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                                                                             47.     As a direct and proximate result of Defendants’ conduct, as alleged herein, Representative

                                                                      Plaintiffs and members of the Putative Class have suffered severe emotional distress, the effect of which

                                                                      continues until the present and will persist into the future, including, but not limited to, fear of adverse

                                                                      health effects and/or death, nervousness about their personal safety and that of their families, and anxiety

                                                                      over damage to their property and evacuation from their homes.

                                                                             48.     As a result, the serious emotional distress caused foreseeable injury to the Representative

                                                                      Plaintiffs and members of the Putative Class.

                                                                             49.     In addition, the Defendants’ actions were undertaken in violation of law and in a conscious
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                                                                      disregard for the rights and safety of others that had a great probability of causing substantial harm thereby

                                                                      subjecting the Defendants to liability for punitive damages.

                                                                                                       COUNT FIVE – STRICT LIABILITY
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                                                                                                         (AS TO ALL DEFENDANTS)

                                                                             50.     Representative Plaintiffs reallege the preceding paragraphs of this Complaint as if fully

                                                                      restated and incorporate the same herein.

                                                                             51.     At all times herein, Defendants were engaged in an ultra-hazardous and/or abnormally

                                                                      dangerous activity, namely, the handling and transportation of highly volatile chemical substances for

                                                                      industrial and commercial purposes, including, but not limited to, vinyl chloride.

                                                                             52.     In carrying out such an ultra-hazardous and/or abnormally dangerous activity, Defendants

                                                                      acted in violation of federal, state, and/or local laws and/or regulations rendering it strictly liable for any

                                                                      resulting damages.

                                                                             53.     As a direct and proximate result of the acts and omissions of Defendants and/or negligence

                                                                      of Defendants, as described herein, Representative Plaintiffs and members of the Putative Class have




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                                                                      suffered damages, including, but not limited to, evacuation from their homes and costs sustained

                                                                      therefrom, exposure to toxic chemicals and fumes, emotional distress, and anxiety.

                                                                             54.     Such damages are of the type of harm that is contemplated in determining that the handling

                                                                      and transportation of toxic chemicals, such as vinyl chloride, is an ultra-hazardous and/or abnormally

                                                                      dangerous activity.

                                                                             55.     In addition, the Defendants’ actions were undertaken in violation of law and in a conscious

                                                                      disregard for the rights and safety of others that had a great probability of causing substantial harm thereby

                                                                      subjecting the Defendants to liability for punitive damages.
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                                                                             WHEREFORE, Representative Plaintiffs, on behalf of themselves and all other members of the

                                                                      Putative Class, pray for judgment against Defendants, jointly and severally, as follows:

                                                                             1.      For an Order certifying this action and/or common issues raised herein as a Class Action
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                                                                      under the applicable provisions of the Federal Rules of Civil Procedure 23(a), 23(b), and 23(c), designating

                                                                      Class Representatives, and appointing the undersigned to serve as Class counsel;

                                                                             2.      For notice of Class certification and of any relief to be disseminated to all Class Members

                                                                      and for such further notices as this Court deems appropriate under Federal Rule of Civil Procedure

                                                                      23(d)(2);

                                                                             3.      For an award of compensatory damages in an amount to be determined at trial for all

                                                                      injuries and damages as described herein;

                                                                             4.      For an award of punitive damages in an amount to be determined at trial;

                                                                             5.      For an award of attorney fees, costs, and pre-judgment and post-judgment interest.

                                                                             6.      Because the Vinyl Chloride that was released following the derailment and resulting fire is

                                                                      a known carcinogen that has been linked to an increased likelihood of contracting liver and other cancers,

                                                                      for an Order requiring Defendants, at their cost, to provide Plaintiffs and all Class Members with medical

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                                                                      monitoring whereby they will be regularly followed, assessed, and monitored by health care providers;

                                                                      and

                                                                             7.     Such further relief as this Honorable Court deems equitable proper and just.

                                                                       DATED: February 8, 2023                   Respectfully submitted,

                                                                                                                 PLAKAS | MANNOS

                                                                                                                 /s/ Gary A. Corroto______________
                                                                                                                 Gary A. Corroto (0055270)
                                                                                                                 Lee E. Plakas (0008628)
                                                                                                                 Kristen S. Moore (0084050)
                                                                                                                 200 Market Avenue North
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                                                                                                                 Counsel for Plaintiffs

                                                                                                                 JURY DEMAND

                                                                             Representative Plaintiffs hereby demand a trial by jury.


                                                                                                                  /s/ Gary A. Corroto
                                                                                                                  Gary A. Corroto

                                                                                                                  Counsel for Plaintiffs




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